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                            ORIGI NAL
                UNITED STATES DISTRICT COURT FOR THE
                                                                At,
                    SOUTHERN DISTRICT OF GEORGI A
                                                                   acI3 1 . AI= 3.3
                          BRUNSWICK DIVISIO N


UNITED STATES OF AMERIC A

       V.                               CASE NUMBER : CR 202-2 1

RANDO GROUP, INC .
WAYCROSS PROPERTIES, INC .
ALMA PROPERTIES, INC .


                          ORDER OF DISMISSA L


            Pursuant to Rule 48(a) of the Federal Rules of Criminal

Procedure and by leave of court endorsed hereon, the United

States Attorney for the Southern District of Georgia hereby

dismisses the Indictment as to defendants, namely, Rando Group,

Inc ., Waycross Properties, Inc ., and Alma Properties, Inc ., i n

the above-styled case .



                                    LISA GODBEY WOOD
                                    UNITED STATES ATTORNE Y

                                                I
                                    Jeseph D . Newma n
                                    Assistant United State Attorney
                                    Chief, Criminal Sectio n




                                    Jies L . Course y
                                     ssistant United StaKes Attorney
    Case 2:02-cr-00021-DHB-BWC Document 322 Filed 10/31/06 Page 2 of 2



                                  -2-


          Leave of court is granted for the filing of th e

foregoing dismissal .

                        Qt
          This               day        of    1    ,    2006 .




                                    HONORABLE DUDEY H . BOWEN, J
                                    UNITED STATE MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA
